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 1                        UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
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 3                                        )
         United States of America,        ) File No. 19-CR-103
 4                                        )           (MJD/ECW)
                 Plaintiff,               )
 5                                        )
         v.                               ) Minneapolis, Minnesota
 6                                        ) September 24, 2019
         Relondo Devon Hall (2),          ) 2:30 p.m.
 7                                        )
                 Defendant.               )
 8      -----------------------------------------------------------

 9                   BEFORE THE HONORABLE DAVID T. SCHULTZ
                 UNITED STATES DISTRICT COURT MAGISTRATE JUDGE
10                            (DETENTION HEARING)

11      APPEARANCES
         For the Plaintiff:            U.S. ATTORNEY'S OFFICE
12                                     JUSTIN WESLEY, AUSA
                                       300 S. 4th St., #600
13                                     Minneapolis, Minnesota 55415

14       For the Defendant:            HEGNA LAW OFFICE
                                       TERRY HEGNA, ESQ.
15                                     1626 Grotto St. N.
                                       St. Paul, Minnesota 55117
16
         Court Reporter:               DEBRA K. BEAUVAIS, RPR-CRR
17                                     300 S. 4th St., #1005
                                       Minneapolis, Minnesota 55415
18

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21
            Proceedings recorded by mechanical stenography;
22      transcript produced by computer.

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 1                            P R O C E E D I N G S

 2                                  IN OPEN COURT

 3                  THE COURTROOM DEPUTY:      All rise.

 4                  THE COURT:    Go ahead and be seated.

 5                  All right.    Good afternoon.     We're on the record

 6      in the matter of the United States v. Relondo Devon Hall,

 7      Criminal No. 19-103.

 8                  Mr. Wesley, would you note your appearance for the

 9      record, please.

10                  MR. WESLEY:    Justin Wesley for the United States

11      government.

12                  THE COURT:    Ms. Hegna.

13                  MS. HEGNA:    Your Honor, my name is Terry Hegna,

14      and I'm here this afternoon with Mr. Hall, who is seated to

15      my left.

16                  THE COURT:    Good afternoon, Ms. Hegna and

17      Mr. Hall.

18                  According to what I have in front of me, we are

19      here for a detention hearing.      But also, Ms. Hegna, would

20      you like to have your client arraigned today as long as

21      you're available?

22                  MS. HEGNA:    I would, Your Honor.

23                  THE COURT:    All right.   Why don't we do the

24      arraignment first, then.      Come on up.

25                  All right.    Mr. Hall, would you state your full



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 1      name for the record, please.

 2                 THE DEFENDANT:     Relondo Devon Hall.

 3                 THE COURT:    And spell your last name, please.

 4                 THE DEFENDANT:     H-A-L-L.

 5                 THE COURT:    All right.    Your date of birth, sir,

 6      is what?

 7                 THE DEFENDANT:     3-22 of '82.

 8                 THE COURT:    All right.    Mr. Hall, a superseding

 9      indictment dated August 13 of 2019 has been filed against

10      you charging you with conspiracy to distribute controlled

11      substances, possession with intent to distribute controlled

12      substances, and being a felon in possession of a firearm.

13                 Have you had a chance to see a copy of the

14      indictment?

15                 THE DEFENDANT:     Yes, sir.

16                 THE COURT:    Ms. Hegna, do you wish to waive

17      reading of the indictment?

18                 MS. HEGNA:    Yes, Your Honor, we would waive the

19      reading and ask that the Court enter not guilty pleas on all

20      counts.

21                 THE COURT:    All right.    Very well.

22                 Mr. Hall, the Court will enter a plea of not

23      guilty to all six charges -- or seven charges of the

24      superseding indictment.     Okay?

25                 THE DEFENDANT:     Yes, sir.



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 1                 THE COURT:    All right.    Go ahead and be seated.           I

 2      have some dates for you all to write down.

 3                 Government disclosures due date is October 1.             The

 4      defendant's disclosures then are October 8th.         Motion filing

 5      date is October 15.     And the motion response date is October

 6      29.   Notice of intent to call witnesses, November 1.          And

 7      the responsive notice deadline is November 4.         Motions will

 8      be heard on November 5 at 9:30 in the morning before

 9      Magistrate Judge Elizabeth Cowan Wright.        She is in

10      courtroom 3C in St. Paul.      Voir dire and jury instructions

11      will be due November 18th.      And trial is set for December

12      2nd at 9:00 a.m. before District Judge Michael J. Davis, and

13      he is in Courtroom 13E above us in this courthouse.

14                 Okay?   Any questions about those dates or anything

15      relating to the arraignment?

16                 MR. WESLEY:    No, Your Honor.

17                 MS. HEGNA:    No, Your Honor, except that I would

18      note that Mr. Hall is only charged in three counts of the

19      indictment, not all of the counts.

20                 THE COURT:    Very well.    Thank you.    So noted.       A

21      not guilty plea will be entered on your behalf to all the

22      counts in the indictment that relate to you.        Okay?

23                 THE DEFENDANT:     Yes, sir.

24                 THE COURT:    All right.    Mr. Wesley, how do you

25      intend to proceed with respect to detention?



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 1                 MR. WESLEY:    A brief proffer of information, along

 2      with the information that's contained in the Pretrial

 3      Services report.

 4                 THE COURT:    Very well.    Why don't you go ahead,

 5      Mr. Wesley.

 6                 MR. WESLEY:    Your Honor, the first thing that I

 7      wanted to clarify was from the initial appearance where

 8      Ms. Atwal, who was representing the defendant at that period

 9      of time, indicated that Mr. Hall was claiming he had turned

10      himself in.    I didn't mention anything at that time because

11      I thought the detention hearing would be more appropriate.

12                 I informed Ms. Atwal immediately after the hearing

13      that Mr. Hall was in fact arrested after a controlled buy.

14      He did not turn himself in.      I informed Ms. Hegna of that

15      when I learned she was appointed.       I provided her with the

16      underlying police reports indicating that was how he was

17      apprehended.    So I did want the Court to know he did not

18      turn himself in.    He was arrested on probable cause for a

19      new offense and then held on a misdemeanor warrant before he

20      appeared here.

21                 Your Honor, we are seeking detention.        I believe

22      that the Pretrial Services report does lay out the reasons

23      why that would be appropriate in this case; that no

24      condition or conditions would be sufficient to ensure his

25      appearance or public safety.      And the only other things I



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 1      would like to note for the Court are that the indictment

 2      does allege serious allegations with significant time.

 3                 This investigation was initiated based on Mr. Hall

 4      being the target.     It was an overdose death on December 22nd

 5      of 2018 where Mr. Hall is alleged to have been the person

 6      who provided the Fentanyl that resulted in the death of an

 7      individual.

 8                 Mr. Hall was at an Airbnb, which is the result of

 9      the January 24th, 2019 charges -- that's a short term but

10      extended stay-type situation -- where it's alleged that he

11      was dealing Fentanyl and heroin out of that, along with his

12      co-defendant, Mr. Abari.

13                 He was later found in another residence with a

14      bunch of other Fentanyl and heroin users.        And during the

15      investigation we know that he's been in Las Vegas and

16      Florida, so we don't believe that he's ever had a permanent

17      residence during the time of this conspiracy.

18                 So given the charges, given the Pretrial Services

19      report, Your Honor, the government does not believe that

20      there is any condition or conditions that would ensure his

21      appearance or public safety, specifically given the

22      Fentanyl, the overdose death in this case, and just the

23      sheer volume.

24                 We tracked down their supplier who's indicted,

25      Kevin Green.    He alone had $200,000 in cash almost -- I



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 1      believe it was around 193,000 -- and 300 grams of a mixture

 2      of Fentanyl and heroin.     Those numbers go up somewhat with

 3      actual amounts for the grams that we obtained from Mr. Hall

 4      and Mr. Abari and the cash that was seized from them as

 5      well.   And then, of course, there's the firearms.        So that's

 6      our basis for detention, Your Honor.

 7                 THE COURT:    Thank you, Mr. Wesley.

 8                 Ms. Hegna.

 9                 MS. HEGNA:    Thank you, Your Honor.

10                 What you've just heard is the government's proffer

11      as to what they may be able to show during the course of

12      this matter.    At this point, that information has not been

13      available; although, Mr. Wesley has certainly provided me

14      bits and pieces.

15                 I would note since Mr. Wesley indicated that

16      Mr. Hall was at the Airbnb when that search was done, it's

17      my understanding through a conversation with Mr. Wesley that

18      he was actually not present when that was done.

19                 Having said that, Your Honor, it's our position

20      today that there are conditions that will assure Mr. Hall's

21      appearance and the safety of community.        The comments

22      regarding voluntary surrender -- I wasn't here, obviously,

23      on Friday, but I think in talking to Mr. Hall that's a

24      misunderstanding.     He knew he was arrested.     He was going to

25      pay the $78 warrant, and he tells me when he got to the



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 1      jail, he found out there was the federal warrant.         I said,

 2      Well, you couldn't have left, could you?        And he said, No.

 3      Well, I turned myself in.      Well, he was there already.     I

 4      mean, he's not disputing those circumstances.

 5                 Your Honor, I would make a further offer of proof.

 6      As you can see in the back of the courtroom, Mr. Hall's

 7      family is here today:     his mother, Deletta Hall; his three

 8      children; a cousin; and a girlfriend; and there's some other

 9      family members that were not identified to me before I came

10      in here.   He does have the support of his family, and I

11      think it's important that the Court consider that as it's

12      looking at all the other information.

13                 Mr. Wesley and I have discussed that we would

14      offer a proffer of what Deletta Hall is willing to testify

15      to today without her taking the stand.        Basically, she could

16      confirm the information in the bond report in terms of

17      Mr. Hall being her son.     He was born in Illinois, has been

18      in Minnesota for 25 years, very connected with his family.

19                 His mom lives at a residence on Central Avenue in

20      Minneapolis.    And she has indicated to me that although

21      that's a public housing residence and he can't live exactly

22      with her, that her hope would be that they would set up an

23      apartment in the basement with the consent of the landlord.

24                 Ms. Hall has -- her husband is in a nursing home.

25      The bond report says that he has died.        I guess that's



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 1      inaccurate.    Her other son has deceased.       She has no other

 2      children, besides Mr. Hall.      She suffers from diabetes, as

 3      well as some mental-health issues, and indicates that

 4      Mr. Hall is her lifeline basically.       He helps her with

 5      laundry, helps cook her food, helps put her medication in

 6      pill boxes, takes care of her bills.          And she indicates that

 7      he's never given her any trouble and also indicates that he

 8      is a good father to his children.       She indicates that

 9      without his help it's going to be a struggle for her, and

10      Mr. Hall wants to continue to provide that support.

11                  She personally has never seen him with narcotics

12      or a gun.   And she believes that although he had some issues

13      early on in his life, that since he started working about

14      five years ago that he has done fairly well.         She can

15      indicate to the Court that the job he had at Tim Horton's

16      that the bond report says that he was laid off from in March

17      of '20 [sic], he worked for about three years.         He was a

18      baker at that business.     He also worked at SuperValu

19      warehouse for about a year and a half and worked at Marsden

20      cleaning.

21                  I think all of that, Your Honor, kind of leads

22      into the Court considering and looking at the criminal

23      history that has been put forth.       If the Court looks at that

24      carefully, the last conviction that shows up, apart from the

25      February 28, 2019 arrest in Las Vegas, which was the



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 1      misdemeanor, but aside from that, there haven't been any

 2      convictions, at least that I'm aware of, since 2010.

 3                  Mr. Hall indicates there was a period of time

 4      where he did turn his life around and he was working hard

 5      and taking care of his family, and that's what he wants to

 6      do again.

 7                  When we look at the three factors that support a

 8      finding that there are conditions -- I mean, we have to look

 9      at the context of the bond report.       Just because somebody

10      has repeated contact with law enforcement doesn't

11      necessarily mean anything.      We don't know why Mr. Hall is

12      stopped repeatedly for his driving and traffic offenses, but

13      apparently that's one of the weaknesses that he has.            As I

14      look at the bond report, if my math is correct, there's 16

15      entries where he was arrested, but there were no charges or

16      disposition that resulted from those.

17                  It also looks like many of the stops, as I

18      indicated, were traffic related:       driving after suspension,

19      false information to the police.       And, again, we don't

20      exactly know what the circumstances of those cases are.

21                  Granted there are six active cases, but those are

22      all misdemeanors as I can tell from looking at -- again, at

23      the bond report.     Although there's two traffic matters that

24      have active warrants in Vegas, you know, it's my

25      understanding that they don't intend to extradite outside of



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 1      this jurisdiction.     So our hope would be that he could move

 2      forward and try to get the pieces of his life back together.

 3                  The other thing that I think the Court has to give

 4      serious consideration to is in the bond report one of the

 5      factors was that he's been homeless for two years.          He may

 6      or may not -- or no permanent address, excuse me; "homeless"

 7      is my word.    The fact that he doesn't have a permanent

 8      address in and of itself with all the family support he has,

 9      the fact that he's been well connected with our community

10      for 25 years and wants to stay here, I think the fact that

11      he doesn't have his own address at this point shouldn't be

12      the factor.    As I indicated, his mom would testify that she

13      is working to provide him with a place to live.

14                  Your Honor, it's our position that there are

15      conditions.    As the Court can see, Mr. Hall has had issues

16      with substance abuse over the course of his life.          I know he

17      told the worker in the bond report that he didn't think he

18      had a problem, but the Court can look at that, look at the

19      UA that was done at the time of his arrest, and he obviously

20      has some problems.

21                  It would be our suggestion, Your Honor, that the

22      conditions that would assure his presence and would assure

23      the safety of the community would include releasing him on

24      some sort of home monitoring, having him do a Rule 25

25      assessment and following the recommendations of that,



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 1      finding employment, having no contact with the folks that

 2      the government is concerned about, and allowing him to be a

 3      productive member of society while this case is pending.

 4                  As I said, with the discovery not due for a week,

 5      it's hard to decide how this case is going to be handled.

 6      Just because we hear this is a drug offense and we hear

 7      guns, we still have to evaluate the circumstances of what we

 8      know at this point.     And, as I said, apart from a

 9      misdemeanor controlled substance, there haven't been any

10      convictions that I'm aware of since 2012.

11                  If the Court is disinclined to allow him to simply

12      go to his mom's house or somewhere, we would ask that he be

13      allowed to reside in a halfway house while this is pending

14      with the electronic monitoring.       That would provide an extra

15      level of comfort for the Court and the government, and he

16      can still participate in treatment and whatever was

17      determined to be appropriate for him.         He'd be accountable

18      to the rules of the halfway house, and he indicates that he

19      is willing to do that if the Court wants that extra level of

20      supervision.

21                  The last comment I would have, Your Honor, is on

22      the risk assessment that comes in the bond reports as of

23      late, it's an assessment.      It doesn't tell us what the risk

24      for any of the behaviors it looks at are going to relate to

25      this particular defendant.      Rather than looking at 35



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 1      percent in a category V are going to fail to appear, have

 2      new criminal cases or technical violations, we can also look

 3      at it as 65 percent of folks are not going to be in that

 4      category.    And, in any event, it doesn't predict the risk

 5      for this particular defendant, which I think the Court has

 6      to do when it's taking a look at whether there are

 7      conditions that exist.

 8                  So with that, Your Honor, we would strongly urge

 9      the Court to find that there are conditions, and that

10      Mr. Hall is willing to follow them.        And any concerns that

11      might've been expressed on Friday, part of that had to do

12      simply with the process moving so quickly and not having the

13      time to talk in detail with an attorney.

14                  I'm comfortable, Your Honor, if the Court were to

15      fashion an order, that there are conditions that would

16      assure the safety of the community and Mr. Hall's appearance

17      before this Court.

18                  Thank you, Your Honor.

19                  THE COURT:    Thank you, Ms. Hegna.

20                  Mr. Wesley, I'll give you the final word.

21                  MR. WESLEY:    Just a clarification if I did

22      misspeak.    Mr. Hall was not present at the January 24th

23      search warrant, but he is the one that had secured the

24      Airbnb.    And the government has information that both

25      Mr. Hall and Mr. Abari had been selling large amounts of



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 1      Fentanyl out of that apartment building.

 2                  At the time of the execution, Mr. Abari was

 3      present; Mr. Hall's daughter, Desiree Hall, was present, who

 4      I believe is in the courtroom here today, if I recognize her

 5      properly from photos I've seen; and then her boyfriend was

 6      also present with 100 grams, approximately, of heroin out

 7      being packaged on the kitchen table.

 8                  While I'm not a fan of calling witnesses at these

 9      types of hearings, Your Honor, based on discovery not being

10      provided, I did speak with Ms. Hegna yesterday and previewed

11      her, basically, the timeline of the case that we do have.

12      And I do have one of the case agents present here, and I can

13      proffer to the Court that we do have a very strong case.

14                  The evidence is that Mr. Abari and Mr. Hall were

15      equally dealing large amounts of Fentanyl and heroin

16      unbeknownst to their users that Fentanyl was contained in

17      the heroin.    They were selling it as only heroin.

18                  There is one death involved.       There are shootings

19      involved in this case where Mr. Hall and Mr. Abari are

20      implicated where persons were actually shot.         Threats were

21      made not by Mr. Hall, but by Mr. Abari.        And there's lots of

22      other things going on with this case.         But the government

23      does believe that the bond report itself, the severity of

24      these charges, the weights, the money that's involved, and

25      the fact that even after Mr. Abari and Mr. Green were picked



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 1      up, Mr. Hall is out there conducting controlled buys.           It's

 2      not just the last one that he was picked up on, but he was

 3      selling methamphetamine.      We have a phone of his where he

 4      was Googling "how do I get Fentanyl" because his source was

 5      cut off.

 6                  So the government does not believe that there are

 7      any conditions, such as a halfway house, where Mr. Hall

 8      would discontinue the behavior that he is engaged in that

 9      does endanger the public safety or assure his appearance in

10      court.

11                  Thank you.

12                  THE COURT:    All right.      Thank you, Mr. Wesley.

13                  This is a rebuttable presumption case, correct,

14      Mr. Wesley?

15                  MR. WESLEY:    I believe so, Your Honor.

16                  THE COURT:    Okay.     All right.   I have considered

17      everything in the Pretrial Services report and the proffer

18      of both the government and the defense in this case, and I'm

19      going to find that the defendant has not rebutted the

20      presumption in this case for all the reasons that are cited

21      in the Pretrial Services report.

22                  I cannot find that there's any set of conditions

23      that I can impose that will reasonably assure Mr. Hall's

24      appearance at further court proceedings or reasonably assure

25      the safety of the community.         So my order is that pending



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 1      trial in this matter Mr. Hall will be detained.

 2                   Anything further for the government, Mr. Wesley?

 3                   MR. WESLEY:    No, Your Honor.     Thank you.

 4                   THE COURT:    Anything further for the defendant,

 5      Ms. Hegna?

 6                   (A brief discussion was held off the record.)

 7                   MS. HEGNA:    No, Your Honor, not today.

 8                   THE COURT:    All right.    Thank you.   Court is in

 9      recess.

10                   Good luck to you, Mr. Hall.

11                   THE COURTROOM DEPUTY:      All rise.

12                   (Court adjourned at 3:00 p.m.)

13                                   *      *      *

14                 I, Debra Beauvais, certify that the foregoing is a

15      correct transcript from the record of proceedings in the

16      above-entitled matter.

17                       Certified by:     s/Debra Beauvais
                                           Debra Beauvais, RPR-CRR
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